                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA            )
                                    )
v.                                  )      Case No. 3:11-000194-13
                                    )      Magistrate Judge Knowles
STERLING RIVERS                     )


                                O R D E R


     The Arraignment for Defendant scheduled on August 29, 2012,

at 11:30 a.m., is CANCELLED, pending further Order of the Court.

     IT IS SO ORDERED.




                                        E. CLIFTON KNOWLES
                                        United States Magistrate Judge




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